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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

ROY FLOYD,
     Plaintiff,

vs.                                                        Case No. 3:04cv386/MCR/EMT

JEB BUSH, et al.,
      Defendants.
________________________________________/

                            REPORT AND RECOMMENDATION
       This cause is before the court upon referral from the clerk. Plaintiff commenced this action
by filing a civil rights complaint under 42 U.S.C. § 1983 (Doc. 1).
       On March 15, 2005, the court entered an order (Doc. 7) directing Plaintiff to file a completed
application for leave to proceed in forma pauperis or pay the $150.00 filing fee within thirty (30)
days of the entry of the order. Plaintiff failed to comply with this order, and on April 22, 2005, the
court entered an order to show cause (Doc. 8), allowing Plaintiff twenty (20) days in which to show
cause why his case should not be dismissed for failure to comply with an order of the court. On May
2, 2005, the copy of the show cause order mailed to Plaintiff at his address of record was returned
marked “no longer at this address” (Doc. 9).
       Plaintiff failed to notify this court of his change of address, failed to file a completed
application for leave to proceed in forma pauperis or pay the $150.00 filing fee as ordered, and has
not filed anything with the court for more than sixty (60) days, evidencing his intent to abandon the
prosecution of this case.
       Accordingly, it is respectfully RECOMMENDED:
       That this case be DISMISSED without prejudice for Plaintiff’s failure to prosecute and
failure to comply with an order of the court.
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         At Pensacola, Florida, this 16th day of May, 2005.



                                       /s/ Elizabeth M. Timothy
                                       ELIZABETH M. TIMOTHY
                                       UNITED STATES MAGISTRATE JUDGE



                                  NOTICE TO THE PARTIES

       Any objections to these proposed findings and recommendations must be filed within
ten days after being served a copy thereof. A copy of objections shall be served upon all other
parties. Failure to object may limit the scope of appellate review of factual findings. See 28
U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir. 1988).




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